Case 22-17381-KCF   Doc 36    Filed 11/08/22 Entered 11/08/22 11:31:51   Desc Main
                             Document      Page 1 of 8
Case 22-17381-KCF   Doc 36    Filed 11/08/22 Entered 11/08/22 11:31:51   Desc Main
                             Document      Page 2 of 8
Case 22-17381-KCF   Doc 36    Filed 11/08/22 Entered 11/08/22 11:31:51   Desc Main
                             Document      Page 3 of 8
Case 22-17381-KCF   Doc 36    Filed 11/08/22 Entered 11/08/22 11:31:51   Desc Main
                             Document      Page 4 of 8
Case 22-17381-KCF   Doc 36    Filed 11/08/22 Entered 11/08/22 11:31:51   Desc Main
                             Document      Page 5 of 8
Case 22-17381-KCF   Doc 36    Filed 11/08/22 Entered 11/08/22 11:31:51   Desc Main
                             Document      Page 6 of 8
Case 22-17381-KCF   Doc 36    Filed 11/08/22 Entered 11/08/22 11:31:51   Desc Main
                             Document      Page 7 of 8
Case 22-17381-KCF   Doc 36    Filed 11/08/22 Entered 11/08/22 11:31:51   Desc Main
                             Document      Page 8 of 8
